Case 1:15-cr-00124-TSE   Document 65-20   Filed 09/20/15   Page 1 of 1 PageID# 508



 I herby acknowledge that this letter will be used in the court of
 law:

 I am writing this letter in support of Muneeb Akhter, to be used
 at his sentencing hearing in the U.S. District Court in
 Alexandria, Virginia. Our relationship really started when we
 both attend Code4Country an USAID sponsored hackathon
 (programming competition) in 2011 when we represented George
 Mason University and began to do many of these hackathons. Muneeb
 is different and has a really good heart. I have seen him
 numerous times helping people and teaching at GMU for the simple
 love of academy. One of the competitions we have done was at the
 Water Hackathon sponsored by The World Bank where we started to
 build off our originally SMS platform messaging tool to help the
 government of Botswana allow it's people to pay their water bill
 using their smartphone. The hackathon was named Random Hacks of
 Kindness and Muneeb did this on his own time to give back to the
 community as well as open source his work. Muneeb holds the
 potential to the change the world and hand his skills to many
 people to make our world a better place.

 Seif Kobrosly
